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UNITED S'I`ATES DISTRICT COURT
DISTRICT ()F CONNECTICUT

LISA HALL, : CIVIL ACTION NO.:
3:07»CV-00911 (JCH)

Plaintiff,

V.

FAMILY CARE VISITING NURSE

ANI) HOME CARE AGENCY, LLC .

AN}) FAMILY CARE PLUS, LLC, : JUNE IG, 2008
Defendants.

PLAINTIFF’S OBJECTION "I`O DEFENDANT’S
MOTION 'I`{) COMPEL DISCOVERY

Plaintiff Lisa Hall hereby submits this Objection to Defendant Farnily Care Visiting
Nurse and Horne Care Ageney, LLC’s Motion To Cornpel Discovery dated l\/lay 30, 2008.
Defendant seeks to compel plaintiff to respond to Interrogatory Nos. 19, 20 and Document
Request No. 9.

PRELIMINARY STA TEMEN’I`

lnterrogatory No. 19 asks “I~Iave you ever been a party to a lawsuit other than the present
one?” As of .lune 10, 2008, plaintiff has provided defendant with a full and complete response to
this interrogatory, disclosing that she has never been a party to a lawsuit other than the present
one. (_S;e_e Plaintiff’s Supplemental Responses attached hereto as Exhibit A.) Plaintiff advised
defendant throughout discovery that nearly ten years ago, she felt she had been unfairly
terminated by a former employee Plaintiff`s counsel allowed this area to be explored during

plaintiffs deposition, objecting only When the questioning began to touch upon Whether a

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settlement had been reached. At the time of plaintiffs deposition, plaintiffs counsel was unsure
whether a litigation bad ever been commenced, the terms of any settlement, or whether plaintiff
was bound by any confidentiality obligations On or about June 2, 2008, plaintiffs counsel
became aware (through confidential material provided by plaintiffs prior counsel) that plaintiffs
complaints against her former employer never became the subject of any state or federal lawsuit
and that plaintiff was bound by a broad confidentiality provision obligating her not to disclose
any information regarding the termination of her employment with “Company X.” Once this
information was reviewed, plaintiff supplemented her response to interrogatory No. l9.

Answering Interrogatory No. 19 in the negative results in Interrogatory No. 20 becoming
moot. Accordingly, the only remaining issue in dispute is defendant’s allegation that plaintiff has
not fully complied with Document Request No. 9, which seeks: “All documents referred to or
utilized in preparing responses to FCVN's First Set of Interrogatories.” In connection with this
Request, defendant specifically states it is seeking production “of the settlement agreement, if
any, surrounding [plaintiff’s] termination from “Company X.” (Defendant’s Motion to Compel
at l.)

As an initial matter, plaintiff maintains all objections previously asserted in connection
with this request Moreover, while plaintiffs counsel reviewed material (provided by plaintiffs
former counsel) in order to respond to interrogatory No. 19, these documents are confidential,
protected by the attorney/client privilege and are not likely to lead to the discovery of admissible
evidence Indeed, defendant’s entire line of inquiry regarding prior lawsuits is improper in the
Second Circuit and defendant has provided no relevant case law to support additional disclosure

by plaintiff

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ARGUMENT

Plaintiff has now supplied defendant with a full and complete response to Interrogatory
No. 19, affirmatively stating that she has never been a party to a lawsuit prior to the present
action. Accordingly, Interrogatory No. 20 is moot, leaving only Document Request No. 9 in
dispute The only disputed issue related to Document Request No. 9 involves the documents
reviewed by plaintiffs counsel to make the termination that she has not been a “party to a
lawsuit other than the present one.” Plaintiff s counsel reviewed documents comprising 8 sheets
of paper in order to answer interrogatory No. 19. These documents, however, have not been
produced as they are contidential, protected by attorney»client privilege and not likely to lead to
the discovery of admissible evidence Indeed, even if plaintiff had been a party to another
lawsuit, the Second Circuit only permits discovery on this issue in very limited circumstances,
none of which are present here. §;e§ Outlev v. Citv of New York, 837 F.Zd 587, 593 (2d Cir.
1988)

l\/Ioreover, the case law relied on by defendant is inapposite and does not reflect the
controlling law of this Circuit. For example, Graham v. Casey’s General Stores, 206 F.R.D. 251
(S.i). lll. 2002), involved an employer who served a nonparty request on the plaintiffs
immediately preceding employer 'i`he court allowed the nonparty discovery holding that it could
be relevant to the issue of whether plaintiff had filed previous frivolous claims id at 256. Here,
there is no allegation that plaintiffs current case or any alleged prior claims are or were
frivolous Similarly, in Gastineau v. Fleet Mortgage Cornoration, 137 F.3d 490 (7§‘lh Cir. l998),

the court allowed discovery as to piaintiffs earlier lawsuits, holding that the evidence sought

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“tends to establish something other than fplaintiff’s] propensity to sue his employers.” E. In that
case, there Was an allegation or suspicion that the plaintiff had manufactured documents to
support his claim of discrimination The defendant in Gastineau had reason to believe that the
plaintiff had similarly manufactured documents to support a claim he brought against his
immediately preceding employer. Accordingly, the Seventh Circuit held that the information
sought could feasibly show plaintiffs “modus operandi of creating fraudulent documents in
anticipation of litigation against his employers.” I_d. at 495. Such is simply not the case here.
lndeed, the court in Gastineau sets out a four part test used to determine whether evidence
of prior lawsuits is proper: (l) the evidence must establish something other than a propensity to
sue; (2) the other act must be similar to the instant case and close in time; (3) the evidence must
be clear to the jury that the party committed the act in question; and (4) the prejudicial effect
must not outweigh the probative effect §§ at 495-96. Defendant has failed to address any of
these factors, as to do so would lead to the unavoidable conclusion that the information
defendant seeks is not a proper area for discovery As for the first factor, defendant has pointed
to no other reason to seek information of prior lawsuits other than to show a propensity to sue.
Indeed, defendant seems to admit as much when stating its reason for seeking such information
To witt “Whether plaintiff benefited financially from any settlement is directly related to her
motive for bringing this lawsuit.” (l}efendant’s l\/lemorandum at 3.) Defendant also cannot
satisfy the second element, in that plaintiffs prior complaint against her previous employer was
based on a different theory of liability and occurred nearly ten years ago. As for the third
element, plaintiff has affirmatively stated that there was no prior lawsuit Finally, to raise these

issues at trial would clearly result in unfair prejudice given the failure to meet the above three

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elements Accordingly, even relying on the Seventh Circuit case law cited by defendant, this line
of inquiry is improper

Moreover, in Gastineau the Sevcnth Circuit recognizes the controlling law of the Second
Circuit and sites with approval Outley v. City of New York. 837 F.Zd 587, 593 (2d Cir. l988). A
quick review of gull§y reveals that the controlling law in this Circuit undermines defendant’s
position In QLley, plaintiff brought a civil rights action in which the jury found for the
defendants On appeal, the Second Circuit Court of Appeals found that the defendants effort to
paint plaintiff as a "chronic litigant" was improper. Defendants argued that its evidence of
previous lawsuits by plaintiff was offered simply to impeach the plaintiff The Second Circuit,
rejecting this argument, stated that "[t]he charge of litigiousness is a serious one, likely to result
in undue prejudice against the party charged, unless the previous claims made by the party are
shown to have been fraudulent." id. at 592.

The court in @t_l_ey analyzed the argument by defendant that the evidence should be
admissible under Rule 404(b) of the Federal Rules of Evidence as evidence of other crimes,
wrongs or acts in order to prove motive, opportunity, intent and the like. "i`he court, utilizing a
Rule 404(b) analysis, held that ”{t]he total impact of the evidence was to show that [plaintiff] is
'ciaim-minded' and that the claims before the court were just two rnore in a long line of lawsuits
Excepting this type of evidence from the general rule of 404(b) would permit an exception to
swallow the rule.” § at 593.

Accordingly, the court in th;it,lay finds that evidence of prior lawsuits must first be shown
to be unjustified (i.e., fraudulent), and then will only be admissible in the most rare

circumstances In general, however, any evidence of litigiousness must be excluded See also

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Constantino v. Herzog, M.D., 203 F.Bd 164, 176 (2d Cir. 2000) (holding that examples of
litigiousness are not appropriately placed before trier of fact). in fact, discovery of prior claims,
such as those propounded by defendant in this case, are routinely rejected For example, in
l\/iallov v. Wavne Laboratories, Inc., 95 F.R.D. 488 (D.Mass. l982), the court addressed the
question of ”whether information regarding any other lawsuits and/or employment
discrimination charges which plaintiff may have filed against any of his prior employers is
relevant to the subject matter of his lawsuit" and whether such information was discoverable l_c_L
at 489. Defendant sought such information claiming it was reasonably calculated to lead to the
discovery of admissible evidence and properly within the scope of discovery The court, noting
the strong preference against such discovery and the chilling effect is has on a litigants rights,
stated that the defendant

[H]as put nothing before this Court to support its contention that {plaintiff] is

either "hypersensitive“ or "trigger-happy" other than [defendant‘s] "suspicion"

that they might discover something to support that theory. This is a fishing

expedition into irrelevant waters.
ld_; at 490 (emphasis in original). The court then denied defendants motion to compel such
information _S_e§ also Hasbrouck v. Banl< America Housing Services, 187 F.R.l). 453 (N.D. New
York 1999) (ordering protective order on behalf of plaintiff precluding discovery sought by
defendant seeking information about prior litigation and settlement with former employer).

In the instant case, defendant offers absolutely no evidence that the plaintiff engaged in
any wrongful, fraudulent or frivolous conduct Moreover, the complaint in question is nearly ten

years old, was based on a different theory of liability, was never part of any state or federal

litigation, and, accordingly, has no bearing on the present action.

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.CONCL USION

For the foregoing reasons, plaintiff respectfully requests that defendant FCVN’s l\/iotion

to Conipei be denied in its entirety.

By /S/

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CERTIFICA TE OFSER VICE

This is to certify that on this IOth day of June, 2008, a copy of the foregoing Was filed
electronically [and served by mail on anyone unable to accept electronic filing]. Notice of this
filing will be sent by e-rnaii to ali parties, as listed below, by operation of the Court’s electronic
filing system [or by mail to anyone unable to accept electronic filing]. Parties may access this
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EXHIBIT A

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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT
LISA HALL, : CIVIL ACTION NO.:
3:07-CV-00911 (JCH)
Plaintiff,
V. :

 

FAMLLY CARI£ VlSl'l`lNG N URSE
AND HOME CARE AGENCY, LLC
AN}) FAMILY CARE PLUS, LLC : JUNE 10, 2007
Defendant.
PLAINTIFF’S SECOND SUPPLEMENTAL RESPONSES TO

D_EFEND_ANT FAMILY CARE VISITING NURSE & HGME CARE AGEN__CY, LLC’S
FIRST SET OF INTERROGATORIES DATE]) NOVEMBER 8. 2007

Pursuant to Rule 33 of the Federal Rules of Civil Procedure, plaintiff Lisa Hall hereby objects
and responds to defendant Farnily Care Visiting Nurse and Horne Care Agency, LLC’s First Set of
lnterrogatories dated Novernber 8, 2007 as follows:

GENERAL OBJECTIONS

l. Plaintiff objects to the interrogatories in their entirety insofar as they seek disclosure of
communications protected by the attorney/client privilege and/or Work product doctrine, or information
covered by other evidentiary privileges Any disclosure of information protected by any such privilege

shall he deemed inadvertent and shall not constitute a Waiver of such privilege

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2. Plaintiff objects to responding to any interrogatory by producing anything that she has
acquired in discovery in this proceeding regarding the subject matter of the interrogatory or doctnnent
request

3. Plaintiff objects to the interrogatories in their entirety insofar as they seek to impose
duties beyond those required by the F ederal Rules of Civil Procedure.

4. Plaintiff objects to the interrogatories to the extent that they call for the production of
information that is not in the possession, custody or control of plaintiff

5. Plaintiff objects to the interrogatories insofar as they are designed to annoy, embarrass,
oppress or subject plaintiff to undue burden or expense

6; Plaintiff objects to those interrogatories that are duplicative or cumulative and as to
which information may be, or has been, obtained from another source that is more convenient, less
burdensome, or less expensive

INTERROGA'I‘ORIES

19. Have you ever been a party to a lawsuit other than the present one‘?

OBJECTION: Plaintiff objects to this request on the grounds that it is overly broad and not
reasonably calculated to lead to the discovery of admissible evidence

ANSWER: No.

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20. If the answer to the immediately preceding interrogatory is in the affirmative, state:
the name of the iawsnit;

whether you were the plaintiff or defendant;

the nature of the iavvsuit;

the court in which the lawsuit was iiied;

the date the lawsuit was tiled; and

the ultimate disposition of the lawsuit

’-“*°$`99-*9£7?°

OBJECTION: Plaintiff objects to this request on the grounds that it is overiy broad and not

 

 

reasonably calculated to lead to the discovery of admissible evidence

ANSWER: Not applicable

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s'rArE or CoNNECTrCU'r )
) ss= stamford
coiler or FAmFIELD )

Lisa Hali, being first duly sworn on oath, says that she is the plaintiff herein and as such is
authorized to make this verification; that she has read the foregoing answers and knows the contents
thereof; that said answers were prepared with the assistance and advice of counsel upon whose advice

 

 

she has relied; that the answers set tTth herein, subject to inadvertent or undiscovered errors, are based
on, and therefore necessarily limited by, the records and information still in existence, presently
recollected and thus far discovered in the course of the preparation of these answers; that she
consequently reserves the right to make any changes in the answers if it appears at any time that
omissions or errors have been made therein or that more accurate information is available; that subject
to the limitations set forth herein, said answers are true to the best of her knowledge information and
belief

it%MJeir-‘“

Lisa Hali

Suhscribed and sworn to before me this
10th day or runs 2008.

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As to all objections:

    

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CERTIFICA TE OF SER VICE

This is to certify that on this l{)th day of hine, 2008, a copy of the foregoing was faxed and
then mailed, first ciass, postage prepaid to:

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